  Case 3:05-cr-00133-CCC             Document 266         Filed 06/16/06       Page 1 of 1




                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                        CRIMINAL 05-0133CCC
 1) MATEO MALDO NADO -CABRERA
 a/k/a Teo (Counts One and Two)
 2) JAVIER REYES-TORRES
 a/k/a Héctor (Counts One and Two)
 3) NORMA I. CARTAGENA
 a/k/a Ive (Counts One and Two)
 4) RAULMEDINA-CRUZ
 a/k/a Juanito (Counts One and Two)
 5) NORMA J. FLORES-COLON
 a/k/a Judith (Counts One and Two)
 6) LU IS D. M ARTINEZ-RU IZ
 a/k/a Davisito (Counts One and Two)
 7) RUBEN LUGO-CARTAGENA
 a/k/a Rubencito (Counts One and Two)
 8) JOSEAN PIÑERO-RODRIGUEZ
 a/k/a Josean (Counts One and Two)
 9) JOSE MIGUEL V EGA-RIVERA
  a/k/a Gelín (Counts One and Two)
 10) MARCOS CHUPANI-MALAVE
 a/k/a Marquitos (Counts One and Two)
 Defendant

                                               O R D E R
         Having considered the Report and Recommendation filed on June 8, 2006 (docket entry 262)
on a Rule 11 proceeding of defendant Luis D. Martínez-Ruiz held before Chief U.S. Magistrate Judge Justo
Arenas on June 7, 2006, to which no opposition has been filed, the same is APPROVED. Accordingly,
the plea of guilty of defendant Luis D. Martínez-Ruiz is accepted. The Court FINDS that his plea was
voluntary and intelligently entered with awareness of his rights and the consequences of pleading guilty and
contain all elem ents of the offense charged in the indictm ent.
         This case was referred to the U.S. Probation Office for preparation of a Presentence Investigation
Report since June 7, 2006. The sentencing hearing is set for September 19, 2006 at 4:30 PM.
        SO ORDERED .
        At San Juan, Puerto Rico, on June 16, 2006.


                                                        S/CARMEN CONSUELO CEREZO
                                                        United States District Judge
